              Case 1:23-cv-00853-DAE Document 124 Filed 06/21/24 Page 1 of 11




                           IN THE UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF TEXAS
                                     AUSTIN DIVISION

    UNITED STATES OF AMERICA,

              Plaintiff,

    V.                                                        CIVIL ACTION NO. AU:23-CV-00853-DAE

    GREG ABBOTT, ET AL.,

              Defendants.


                     DEFENDANTS’ EXPEDITED MOTION FOR LEAVE TO
                  TAKE DEPOSITONS ON ORAL QUESTIONS IN EXCESS OF TEN

             Defendants Greg Abbott, in his capacity as Governor of the State of Texas, and the State

of Texas, hereby move on an expedited basis for leave to take depositions on oral questions in

excess of ten witnesses herein, and respectfully would show the Court:

                                                     Background

             1.       On May 3, 2024, Plaintiff designated four testifying expert witnesses in this case

and identified the segment of the Rio Grande River that it contends is navigable in this lawsuit1.

             2.       On May 6, 2024, Plaintiff disclosed fact witnesses likely to have discoverable

information that it may use to support its claims or defenses.

             3.       On May 10, 2024, Plaintiff provided Defendants with their experts’ reports.

             4.       Defendants deposed Plaintiff’s expert witnesses on May 22, 29, 31, and June 5,

2024.




1
         Plaintiff previously refused to disclose what segment of the Rio Grande River that they contend is navigable in
         this suit in their interrogatory responses and only provided this information after Defendants threatened to file a
         motion to compel. Defendants’ efforts to mount a defense were substantially limited up until this point because
         they did not know the scope of the Rio Grande River at issue.

                                                                    1
         Case 1:23-cv-00853-DAE Document 124 Filed 06/21/24 Page 2 of 11




        5.       On June 7, 2024, Defendants designated 12 testifying expert witnesses.

        6.       On June 10, 2024, Plaintiff requested deposition dates for Defendants’ 12 expert

witnesses.

        7.       On June 12, 2024, Defendants’ counsel contacted Plaintiff’s counsel to ask their

availability for six fact witness depositions and to confer on expanding by agreement the total

number of depositions. Plaintiff’s counsel stated that they wanted to wait until they received

experts reports before they would consider expanding the number of permitted depositions by

agreement. Plaintiff’s counsel stated that, “provided Texas timely serves its reports, it should be

possible to have the call on Monday [June 17, 2024].”

        8.       On June 14, 2024, Defendants provided Plaintiff with their experts’ reports and

dates that each are available to be deposed.

        9.       On June 17, 2024, the deadline to notice fact witness depositions, Defendants’

counsel again requested a conference with Plaintiff’s counsel to discuss an agreement to expand

the total number of permitted depositions. Plaintiff’s counsel stated that they could not meet until

the next day. Defendants, as required by the scheduling order, noticed 15 fact witness depositions,

including five Fed. R. Civ. P. 30(b)(6) depositions, subject to agreement or leave from the Court. 2

        10.      On June 18, 2024, Defendants’ counsel again requested a conference with

Plaintiff’s counsel to discuss an agreement to expand the total number of permitted depositions.

Fifteen minutes before the agreed upon call, Plaintiff’s counsel emailed that they intended to seek

protection from the Court and/or would seek to quash the noticed depositions. Defendants’

counsel explained during the scheduled phone call that they noticed the depositions subject to an



2
    The scheduling order required all discovery requests, other than expert depositions, be made by June 17, 2024.

                                                             2
        Case 1:23-cv-00853-DAE Document 124 Filed 06/21/24 Page 3 of 11




agreement between the parties or leave from the Court. Defendants’ counsel suggested that the

number could be reduced if Plaintiff disclosed whether they actually intended to call any of the

identified individuals at trial and/or if they intended to use some or all of the same individuals for

the 30(b)(6) depositions. Plaintiff’s counsel said they would consider this.

       11.     June 19, 2024, was a state and federal holiday—Juneteenth.

       12.     On June 20, 2024, Defendants’ counsel again requested a conference with

Plaintiff’s counsel to discuss an agreement to expand the total number of permitted depositions.

This final request marked the fourth time in roughly two weeks that Defendants had tried to engage

Plaintiff on raising number of depositions by agreement. Accordingly, Defendants asked for an

answer that day; otherwise, they would seek leave from the Court give that discovery closing in

less than a month. An hour before the scheduled phone call, Plaintiff’s counsel abruptly cancelled

the call, threatening that Plaintiff would be “inevitably… filing motions” and stating that it would

not agree to depositions to exceed the 10 permitted by rule. Plaintiff also stated that they would

move to quash and/or seek protection from the already noticed depositions.

       13.     July 5, 2024, is the deadline for Plaintiff’s to designate rebuttal experts.

       14.     July 12, 2024, is the deadline for Plaintiff to produce rebuttal expert reports.

       15.     July 19, 2024, is the close of discovery.

       16.     August 6, 2024, is the scheduled trial date.

                                      Motion for Leave

       17.     Federal R. Civ. P. 30(a)(2) provides that each party can take up to 10 depositions

without agreement or leave from the Court.




                                                      3
        Case 1:23-cv-00853-DAE Document 124 Filed 06/21/24 Page 4 of 11




       18.     A party seeking leave from the Court to conduct depositions in excess of the 10

permitted must make a particularized showing of why extra depositions are necessary. Mullenix v.

University of Texas at Austin, Civil No. 1:19-cv-01203, 2021 WL 3474008, at *1 (W.D.Tex., Aug. 6,

2021). To sustain its burden, a party must demonstrate the necessity for each deposition they have

already taken or will take without leave of court in reaching the deposition limit. Id. at *3.

       19.     “[T]he mere fact that more than ten individuals may have discoverable information

in a case does not mean that taking more than ten depositions makes sense.” Id. (quoting United

States v. Goertz, Civil No. 1:09-cv-00179, 2010 WL 2900309, at *1 (W.D.Tex., July 10, 2010)).

District Courts will decline requests for leave to conduct depositions in excess of the ten permitted

if they are “unreasonably cumulative or duplicative, or can be obtained from some other source

that is more convenient, less burdensome, or less expensive.” Id. at *1 (quoting Fed. R. Civ. P.

26(b)(2)(C)(i)).

       20.     This case involves a Rivers and Harbors Act (RHA) claim. The RHA generally

applies to “navigable” waters of the U.S. that “are presently used, or have been used in the past,

or may be susceptible for use to transport interstate or foreign commence.” 33 C.F.R. § 329.4.

Navigable waters are those that, in their natural condition, can permit “customary modes of trade

and travel on water” such that it constitutes “a highway of commerce” for “through navigation”

along the watercourse with only practically “reasonable improvements” United States v.

Appalachian Power Co., 311 U.S. 377, 407, 411, 413-17 (1940); The Daniel Ball, 77 U.S. 557, 560

(1870) (“navigable” refers to “every stream or body of water, susceptible of being made, in its

natural condition, a highway for commerce”). The RHA prohibits “[t]he creation of any




                                                      4
        Case 1:23-cv-00853-DAE Document 124 Filed 06/21/24 Page 5 of 11




obstruction not affirmatively authorized by Congress, to the navigable capacity of any of the waters

of the United States,” 33 U.S.C. §403.

A.     Depositions 1-10

       21.     Defendants first 10 depositions are important to the claims and defenses in this case

and were not unreasonably cumulative or duplicative:


       i.      On May 22, 2024, Defendants deposed Adrian Cortez. Mr. Cortez is one of
               Plaintiff’s testifying expert witnesses. See ECF 122-1 (expert report). He is a
               hydrologist with the U.S. Section of the International Water Boundary Commission
               (IBWC). Plaintiff is relying on his testimony for the contention that the Rio Grande
               River is currently navigable and/or can be made navigable with reasonable
               improvements. Id. Defendants’ expert witnesses attended his deposition and
               responded to his opinions and testimony in their reports. See ECF # 122-5-122-11
               (expert reports). His deposition is critical to the claims and defenses in this suit.

       ii.     On May 29, 2024, Defendants deposed Dr. Ben Johnson. Dr. Johnson is one of
               Plaintiff’s testifying expert witnesses. See ECF # 122-3 (expert report). He is a
               professor of history at Loyola University. Plaintiff is relying on his testimony for the
               contention that the Rio Grande River was navigable in the past. Id. One of
               Defendants’ expert witnesses attended his deposition and responded to his
               opinions and testimony in her report. See ECF # 122-12 (expert report). His
               deposition is critical to the claims and defenses in this suit.

       iii.    On May 31, 2024, Defendants deposed Timothy MacAllister. Mr. MacAllister is
               one of Plaintiff’s testifying expert witnesses. See ECF # 122-4 (expert report). He
               is Chief of Operations for the Fort Worth District with the U.S. Army Corps of
               Engineers. Plaintiff is relying on his testimony for the contention that the Rio
               Grande River is currently navigable and/or can be made navigable with reasonable
               improvements. Id. Defendants’ expert witnesses attended his deposition and
               responded to his opinions and testimony in their reports. See ECF # 122-5-122-11.
               His deposition is critical to the claims and defenses in this suit.

       iv.     On June 5, 2024, Defendants deposed Cpt. John Timmel. Cpt. Timmel is one of
               Plaintiff’s testifying expert witnesses. See ECF # 122-2 (expert report). He is a ship
               captain and owns a maritime consulting company. Plaintiff is relying on his
               testimony for the contention that the Rio Grande River is currently navigable and
               that the buoys are an obstruction. Defendants’ expert witnesses attended his
               deposition and responded to his opinions and testimony in their reports. See ECF #
               122-5-122-11. His deposition is critical to the claims and defenses in this suit.



                                                      5
 Case 1:23-cv-00853-DAE Document 124 Filed 06/21/24 Page 6 of 11




v.      Defendants have noticed the deposition of Hillary Quam for July 9, 2024. Ms.
        Quam is a former employee with the U.S. Department of State. She submitted
        several declarations in this suit, see ECFs 5-7 & 37-9, and testified during the
        preliminary injunction proceeding. Plaintiff is relying on her testimony for its
        contention that the buoys have harmed U.S.-Mexico relations. Her deposition is,
        therefore, important to the claims and defenses in this suit.

vi.     Defendants have noticed a Fed. R. Civ. P. 30(b)(6) deposition for the U.S. Customs
        and Border Patrol (CBP) for July 10, 2024. CBP conducts operations along the
        stretch of the Rio Grande River at issue, has knowledge about the absence of
        commercial navigation along the stretch of the Rio Grande River at issue, and has
        unique security related information about U.S. commercial waterways and the
        vessels that operate on them. CBP also has knowledge about the flow of illegal
        persons, guns, drugs, and goods into the U.S. in the vicinity of the buoys and along
        the Rio Grande River, which is important to Defendants’ defense and whether
        equitable relief is warranted. The 30(b)(6) deposition of CBP is critical to the claims
        and defenses in this suit.

vii.    Defendants have noticed a Fed. R. Civ. P. 30(b)(6) deposition for the U.S. Army
        Corp of Engineers (USACE) for July 12, 2024. USACE issues permits for
        obstructions placed in navigable waters, issued a 1975 report claiming that the
        segment of the Rio Grande River at issue in this suit is navigable, and has unique
        engineering, hydraulic, and hydrologic information about U.S. commercial
        waterways and the vessels that operate on them. The 30(b)(6) deposition of
        USACE is critical to the claims and defenses in this suit.

viii.   Defendants have noticed a Fed. R. Civ. P. 30(b)(6) deposition for the IBWC for July
        15, 2024. IBWC conducts operations in the vicinity of the buoys and along the
        stretch of the Rio Grande River at issue, regulates water releases and the segment
        of the Rio Grande River at issue, and has unique engineering, hydraulic, and
        hydrologic information about the Rio Grande River and the vessels that operate on
        it. The 30(b)(6) deposition of IBWC is critical to the claims and defenses in this
        suit.

ix.     Defendants have noticed a Fed. R. Civ. P. 30(b)(6) deposition for the City of Eagle
        Pass, TX (Eagle Pass) for July 15, 2024. Eagle Pass has unique knowledge about the
        absence of commercial navigation on the Rio Grande River, whether the buoys are
        an obstruction, the lack of demand or need for future commercial navigation, and
        the flow of illegal persons, guns, drugs, and goods into the U.S. in the vicinity of the
        buoys and along the Rio Grande River, which is important to Defendants’ defense
        and whether equitable relief is warranted. The 30(b)(6) deposition of Eagle Pass is
        critical to the claims and defenses in this suit.

x.      Defendants have noticed a Fed. R. Civ. P. 30(b)(6) deposition for the U.S. Coast
        Guard (USCG) for July 17, 2024. USCG conducts operations on the Rio Grande


                                               6
        Case 1:23-cv-00853-DAE Document 124 Filed 06/21/24 Page 7 of 11




               River, issued a report purporting to conclude that the segment of the Rio Grande
               River at issue is a navigable water, has knowledge about the absence of commercial
               navigation along the stretch of the Rio Grande River at issue, and has knowledge
               and has unique hydraulic and hydrologic information about U.S. commercial
               waterways and the vessels that operate on them. The 30(b)(6) deposition of USCG
               is critical to the claims and defenses in this suit.

B.     Depositions 11-19

       22.     Defendants nine depositions in excess of the ten permitted are important to the

claims and defenses in this case and were not unreasonably cumulative or duplicative:


       xi.     Defendants have noticed the deposition of Neil Lebsock on July 10, 2024. Plaintiff
               disclosed Mr. Lebsock as having “knowledge of the USACE’s determination that
               the Rio Grande is a navigable river under the Rivers and Harbors Act and of Texas’s
               failure to obtain a permit under Section 10 of the Rivers and Harbors Act for the
               Floating Barrier.” Mr. Lebsock is the Project Manager for the Fort Worth District
               of the USACE. He has unique information due to his role about USACE operations
               on the Rio Grande River, including the absence of commercial navigation. His
               deposition is important to the claims and defenses in this suit.

       xii.    Defendants have noticed the deposition of Isela Canava on July 11, 2024. Plaintiff
               disclosed Ms. Canava as having “knowledge of the IBWC’s navigation of the Rio
               Grande [River] and the impact of the Floating Barrier on the IBWC.” Ms. Canava
               is also the Principal Engineer in the IBWC Operations Department. No other IBWC
               witnesses are engineers. She has unique knowledge about IBWC operations and
               engineering on the Rio Grande River, including the reasonableness of the
               improvements to make the Rio Grande River navigable that were offered by her co-
               worker, Mr. Cortez, who is not an engineer. Her deposition is critical to the claims
               and defenses in this suit.

       xiii.   Defendants have noticed the deposition of Mario Gomez on July 11, 2024. Plaintiff
               disclosed Mr. Gomez as having “knowledge of the IBWC’s navigation of the Rio
               Grande [River] and the impact of the Floating Barrier on the IBWC.” Mr. Gomez
               is the Area Operations Manager for the Falcon Dam and Power Plant with IBWC.
               Mr. Gomez submitted declarations in this case, see ECF 5-2, and gave testimony
               during a truncated deposition relating to the preliminary injunction proceedings on
               August 7, 2023, see ECF 26-5. He has unique information due to his role about
               IBWC operations on the Rio Grande River, including the absence of commercial
               navigation. His deposition is important to the claims and defenses in this suit.

       xiv.    Defendants have noticed the deposition of Francisco Sainz for July 11, 2024.
               Plaintiff disclosed Mr. Sainz as having “knowledge of the impact of the Floating


                                                    7
Case 1:23-cv-00853-DAE Document 124 Filed 06/21/24 Page 8 of 11




         Barrier on the IBWC.” Mr. Sainz is the Washington, D.C. IBWC Liaison. Mr. Sainz
         has unique information due to his role as an IBWC liaison with Washington, D.C.
         His deposition is relevant to the claims and defenses in this suit.

xv.      Defendants have noticed the deposition of Micky Donaldson for July 15, 2024.
         Plaintiff disclosed Mr. Donaldson as having knowledge of “navigation of the Rio
         Grande [River] and the effects of the Floating Barrier on [CBP] operations.” Mr.
         Donaldson is the head agent of the CBP Del Rio Section, which includes the
         segment of the Rio Grande River at issue in this lawsuit. Plaintiff identified
         Washington, D.C. as the location for the CBP 30(b)(6) deposition. Mr. Donaldson
         has personal knowledge that cannot be obtained through the CBP 30(b)(6)
         deposition. His deposition is critical to the claims and defenses in this suit.

xvi.     Defendants have noticed the deposition of Cpt. Brandy Parker for July 16, 2024.
         Plaintiff disclosed Cpt. Parker as a person likely to have discoverable information
         that it may use to support its claims or defenses. Specifically, the USA represented
         that Cpt. Parker “has knowledge of the USCG’s determination that the Rio Grande
         is a navigable river.” She is a Staff Judge Advocate with the USCG. She submitted
         a declaration in this case, see ECF 5-4. She has unique information about the process
         for USCG making navigability determinations. Her deposition is important to the
         claims and defenses in this suit.

xvii.    Defendants have noticed the deposition of Cpt. Justin Peters for July 17, 2024.
         Plaintiff disclosed Cpt. Peters as having “knowledge of the USCG missions and
         operational capabilities on the Rio Grande.” Cpt. Peters is the Deputy Director for
         the USCG Office of Emergency Management. He submitted a declaration in this
         case, see ECF 5-6, and gave testimony during a truncated deposition relating to the
         preliminary injunction proceedings on August 7, 2023, see ECF 26-4. He has unique
         information about the USCG operations and the absence of any actual commercial
         navigation on the Rio Grande River in the segment at issue. His deposition is
         important to the claims and defenses in this suit.

xviii.   Defendants have noticed the deposition of Walker Smith for July 18, 2024. Mr.
         Smith is the Director of the Port of Harlingen. He has unique information due to
         his role in commercial navigation, absence of commercial navigation on the Rio
         Grande River in the segment at issue, and the unreasonableness of Plaintiff’s
         proposed improvements to make it navigable for vessels or barges carrying
         commercial cargo. His deposition is important to the claims and defenses in this
         suit.

xix.     Defendants have noticed the deposition of Richard Yarusso for July 19, 2024. Mr.
         Yarusso is an Officer with the N.Y. Police Department. Officer Yarusso was shot
         while investigating a robbery by an illegal immigrant who crossed the Rio Grande
         River and entered the U.S. through Eagle Pass, TX, in July 2023. He has unique
         information due to his role as police officer on the impact of illegal guns, drugs,


                                              8
        Case 1:23-cv-00853-DAE Document 124 Filed 06/21/24 Page 9 of 11




                persons, and goods entering the U.S. in the vicinity of the buoys and the need for
                an effective defense against such entries. His deposition is relevant to the claims
                and defenses in this suit.

Depositions 20+

        23.     Plaintiff may identify rebuttal experts on July 5, 2024, and produce their rebuttal

reports on July 1, 2024. Discovery, however, closes on July 19, 2024. There is insufficient time to

seek leave from the Court to take rebuttal depositions before the close of discovery, particularly

given the number of scheduled depositions taking place between July 5-19, 2024, and doing so

would be a waste of judicial resources when the matter can be determined now. Deposing rebuttal

experts is critical to Defendants ability to assert claims and defenses in this lawsuit. This case will

be decided, in large part, based on the testimony of the 16 expert witnesses that have been

designated (thus far). To the extent Plaintiff intends to designate an unknown number of additional

rebuttal experts, Defendants must take their depositions to adequately prepare their claims and

defenses and will be materially prejudiced if they cannot. These depositions take priority for

Defendants over all other requested depositions, albeit it is unknown how many there may be.

        24.     Plaintiff is represented by many able attorneys in this case. At least five attorneys

have already represented deponents on behalf of Plaintiff in this case. The United States has ample

resources to prepare for and defend the requested depositions.

        25.     Given the need for all discovery to be completed by July 19, Defendants respectfully

ask that the Court consider this Motion on an expedited basis, shortening time for any reply and

hearing the Court may deem necessary. Defendants offer to appear at any hearing by telephone on

an expedited basis, and at any time convenient to the Court.




                                                       9
        Case 1:23-cv-00853-DAE Document 124 Filed 06/21/24 Page 10 of 11




                                         Conclusion

        WHEREFORE, Defendant respectfully request that the Court consider this Motion on an

expedited basis, and that upon due hearing and consideration grant leave to Defendants to take all

of the depositions noticed that would result in the taking of more than ten depositions by

Defendants and the depositions of any rebuttal experts, and for such other and further relief as may

be appropriate.




Date: June 21, 2024                              Respectfully submitted,

Ken Paxton                                       /s/ Johnathan Stone
Attorney General of the State of Texas           Johnathan Stone
                                                 Special Counsel
Brent Webster                                    Tex. State Bar No. 24071779
First Assistant Attorney General                 Johnathan.stone@oag.texas.gov

Ralph Molina                                     David Bryant
Deputy Attorney General for Legal Strategy       Senior Special Counsel
                                                 Tex. State Bar No. 03281500
Ryan Walters                                     david.bryant@oag.texas.gov
Chief, Special Litigation Division
                                                 Munera Al-Fuhaid
Office of the Attorney General                   Special Counsel
P. O. Box 12548, MC-009                          Tex. State Bar No. 24094501
Austin, TX 78711-2548                            munera.al-fuhaid@oag.texas.gov
(512) 936-2172
                                                 Kyle S. Tebo
                                                 Special Counsel
                                                 Tex. State Bar No. 24137691
                                                 kyle.tebo@oag.texas.gov

                                                 Zachary Berg
                                                 Special Counsel
                                                 Tex. State Bar. 24107706
                                                 Zachary.Berg@oag.texas.gov

                                                 Counsel for Defendants


                                                    10
       Case 1:23-cv-00853-DAE Document 124 Filed 06/21/24 Page 11 of 11




                              Certificate of Conference

       I certify that on June 20, 2024, I conferred with counsel for Plaintiff, and they are opposed

to allowing Defendants to take depositions in excess of the 10 permitted by Fed. R. Civ. P. 30.



                                                 s/ Johnathan Stone
                                                 Johnathan Stone
                                                 Special Counsel




                                 Certificate of Service

       On June 21, 2024, this document was filed electronically through the Court’s CM/ECF

system, which automatically serves all counsel of record.



                                                 s/ Johnathan Stone
                                                 Johnathan Stone
                                                 Special Counsel




                                                    11
